             Case 1:17-cr-02558-MV Document 138 Filed 03/25/19 Page 1 of 2
                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,


                       Plaintiff,


v.                                                           Case No. CR 17-2558 MV

ARTHUR PERRAULT,


                       Defendant.

                    DEFENDANT'S PERRAULT’S AMENDED EXHIBIT LIST

        COMES NOW the Defendant Arthur Perrault, by and through counsel, Samuel L. Winder,

Romero & Winder, P.C. respectfully submits the following exhibit list of exhibits that may be

introduced at trial. Defendant Perrault requests permission to amend this exhibit list to include

additional exhibits that may be necessary prior to and during trial:


     1. Photographs of Saint Bernadette Rectory.


     2. Floor plan of Saint Bernadette Rectory.


     3. Military records for Arthur Perrault.

                                                      Respectfully submitted,


                                                      /s/ Samuel. L. Winder
                                                      Samuel L. Winder, Esq.
                                                      Attorney for Defendant Arthur Perrault
                                                      Romero & Winder, P.C.
                                                      1905 Lomas Blvd., NW
                                                      Albuquerque, NM 87104
                                                      (505) 843-9776
           Case 1:17-cr-02558-MV Document 138 Filed 03/25/19 Page 2 of 2




I HEREBY CERTIFY that on this 25th day of March, 2019, I filed the foregoing electronically
through the CM/ECF system, which caused the following parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing.

Holland S. Kastrin, AUSA
Sean J. Sullivan, AUSA


/s/ Samuel L. Winder
Samuel L. Winder, Esq.




                                                  2
